          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                       CRIMINAL NO. 3:00CR210


UNITED STATES OF AMERICA                 )
                                         )
                                         )
            VS.                          )           ORDER
                                         )
                                         )
MARY ALICE AVERY                         )
                                         )


     THIS MATTER is before the Court on receipt of Defendant’s letter

dated December 17, 2007, in which she requests the Court appoint

counsel for her “to appeal [her] case.” She also states that “[b]ased on

Kimbrough v. United States I would like to appeal my case for crack

cocaine.”

     The undersigned sentenced the Defendant on September 24, 2002,

to a term of 135 months imprisonment for conspiracy to possess with intent

to distribute cocaine and cocaine base in violation of 21 U.S.C. §§ 846 and

841(a)(1). Judgment in a Criminal Case, filed October 16, 2002. She

did not file a direct appeal of her conviction and sentence. On July 15,

2003, the Defendant filed a motion to vacate, set aside, or correct




     Case 3:00-cr-00210-FDW    Document 203    Filed 01/08/08   Page 1 of 2
                                        2

sentence pursuant to 28 U.S.C. § 2255. The undersigned denied the

motion and the case was dismissed by Judgment filed October 23, 2003.

The Defendant did not appeal the Court’s Judgment.

      It is difficult to determine what relief the Defendant actually seeks

since the time for filing an appeal has long expired in both the criminal and

civil cases and the Court is without jurisdiction to either extend or reopen

the time for the appeal. See Fed. R. App. P. 4(a)(5), (6). Therefore,

affording the Defendant’s letter a literal interpretation, the Court will direct

the Clerk to file the Defendant’s letter as a notice of appeal and that the

letter be forwarded to the Fourth Circuit Court of Appeals.

      IT IS, THEREFORE, ORDERED that the Defendant’s letter be filed

as a notice of appeal and the same be forwarded to the Fourth Circuit

Court of Appeals.

      The appointment of appellate counsel is respectfully referred to the

Fourth Circuit Court of Appeals.

                                        Signed: January 4, 2008




     Case 3:00-cr-00210-FDW     Document 203      Filed 01/08/08   Page 2 of 2
